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                              EXHIBIT N

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
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coalition on homelessness, sf                              annual report 2019




    CElebrating 30 years of street sheet
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About       our    work
The Coalition on Homelessness was formed in 1987 by homeless people and front-line social
service workers to address the crisis of homelessness in San Francisco. For over thirty years, we
have centered the wisdom and tenacity of currently and formerly homeless San Franciscans in
the fight to end homelessness.

We fight for creative, systemic solutions. We fight for permanently affordable housing. We
fight for eviction prevention to keep San Franciscans housed. We fight for behavioral health
treatment for those in need. We fight to uphold the fundamental human rights of those forced to
live on the street.

We conduct outreach every week on the streets, in shelters and at other places homeless people
congregate, and this is where our campaigns are formed. Through outreach, we regularly receive
input on our work as we activate people to join our struggle. This input is brought to our weekly
open workgroup meetings that homeless people and their allies are welcome to attend. At these
workgroups we fine-tune our campaigns and choose our tactics. All decisions we make follow a
democratic and radically inclusive decision making process.


2019 at a glance
SERVICES NOT SWEEPS
• We forced the city to invest in funding for
  1,075 community members to receive mental
  health and/or substance abuse services.
• We removed wasteful $163,610 in funding for
  HSOC – the team that confiscates tents and
  gives citations to homeless people for being
  poor.
• We also got local legislators to cut $1,000,000
  from SFPD to eliminate the introduction of
  Tasers (again).
• We pushed through 24-hour public restrooms
  which will result in 10,000 fewer instances of
  people forced into the indignity of toileting on
  the street.
• We won funding for employment services for
  100 homeless individuals.
• We drew attention to illegal property
  confiscation through our Stolen Belonging
  project in collaboration with artist-activist
  Leslie Dreyer. We now have striking oral
  testimony from all over the city, and public
  records verifying the allegations detailed in our
  oral testimonies.
• We passed legislation allowing for safe parking
  spaces for the vehicularly housed.
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Our city our home
• Since our last report, we brought Our City -
  Our Home Proposition C to victory– truly
  the boldest measure to address homelessness
  in San Francisco, and we only could have
  won after decades of non-stop struggle by so
  many people (many of whom are in the room,
  and many of whom we dearly miss) with the
  ongoing crisis in our city.
• We hired hundreds of homeless people to help
  us with the campaign, we called almost 70,000
  voters and knocked on almost 25,000 doors
  and we moved San Franciscans from despair
  to believing change is possible.
• While it is held up in a legal battle, we
  anticipate winning that and literally doubling
  our homeless efforts here in SF with broad
  sweeping expansion of prevention, housing
  and treatment. We will continue to fight
  tooth and nail until we win the 4,000 units
  of housing, 1,700 treatment slots, homeless
  prevention for thousands and an elimination
  of the shelter waitlist through expanded beds
  that Our City Our Home will fund.                    Housing is a human right
• In the meantime, we are conducting a peer            We believe that every child, youth, and
  needs assessment survey to gather data on how        adult deserves a place to call home.
  existing City programs can be improved. This         We work tirelessly to ensure that San
  will ensure that we’re ready to responsibly build    Francisco provides safe, dignified
  out infrastructure when Prop C funding is            housing for all.
  released. We’ll publish our findings by the end
  of the year.                                         • This year, our organizing work has
                                                         led to the city funding the creation of
                                                         473 new housing units or subsidies
                                                         that will support hundreds of
                                                         individuals and families in exiting
                                                         homelessness.
                                                       • We got the city to commit to
                                                         emergency housing for 110
                                                         community members.
                                                       • We fought for and won eviction
                                                         prevention services that will keep
                                                         1,355 households in their homes or
                                                         in shelter.
                                                       • As a result of these investments,
                                                         by the end of this fiscal year,
                                                         almost 1,509 households will exit
                                                         homelessness, and thousands of
                                                         households will maintain their
                                                         housing.
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30 Years of Street sheet
 For three decades, the Street Sheet has been the voice of homeless San Franciscans, bringing the word on the street into the
  living rooms of those with housing and putting income into the hands of those without. Our stories come directly from those
 with lived experience because we know that we are the true experts on our own lives, on our own struggles. Thank you for 30
                                                  years of dedicated support!

About us
Wherever you are in San Francisco, you don’t have to look too far to find someone in the BART station,
outside the grocery store, or on the street corner selling a scrappy print publication called Street Sheet.
The Street Sheet is the oldest continuously published street newspaper in the country, reaching over
30,000 readers every month and putting money into the pockets of more than 200 homeless vendors.
This year we are celebrating our 30th year as the most reliable source for news relating to poverty,
featuring stories that come directly from those with lived experience of homelessness.

With more than a thousand people languishing on the waitlist for a shelter bed, and 21,000 people
experiencing homelessness annually in this wealthy city, we know our work is cut out for us. So next
time you pick up a copy of Street Sheet, remember that you are not only getting the word on the street,
you are also supporting a vendor who is struggling with poverty and helping them survive in a city that
has largely abandoned them.


              1989: Street Sheet debuts as one of the first street
              newspapers in the country. It is printed as a one-page
              newsletter.

              1999: Street Sheet celebrates 2 million copies sold! We
              are still the most widely distributed street newspaper in
              the world.

              2009: After two decades of being a monthly newspaper,
              street sheet starts printing on the 1st and 15th of every
              month.

              2019: As we celebrate our 30th anniversary we also
              start accepting cashless payments, making the paper more
              accessible to our readers and putting more revenue in the
              pockets of our homeless vendors.


                                                                                                         our future
This year we look back at millions of papers sold, hundreds of homeless people earning an
income, and countless critical headlines read citywide. At the same time the Street Sheet
has managed to stay current, even as we face the decline of print media. Vendors are now
able to accept Venmo payments from readers who don’t carry cash, and this year will see the
launch of Street Speak, our upcoming podcast answering your burning questions about San
Francisco’s homeless crisis. In the coming year we are also looking forward to having a budget
that will allow us to compensate our contributors with lived experience homelessness for their
work.
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                                Waverly Walton
                 Street Sheet vendor since 1996
So I let folks know I’m with the Coalition, ask folks to donate
to our paper we put out for the sheltered and homeless,
because you can’t really get real info in the Chronicle and
the Examiner, so we have to do it ourselves. People who
help themselves will prevail. You go out there and do it
yourself, and that’s what I do. I go out there and provide
for myself every day, I don’t beg or steal. I’m a retired vet
and I know what it’s like, ’cause when I first got out of the
army I used to drink a lot and was homeless for a while
and this organization helped me out and I appreciate it. So
now I’m giving back since my life has come back together.


                                                  Quiver Watts (they/them)
                                                  Street Sheet editor since 2016
                                                  I am so grateful to the hundreds of people who have
                                                  created and sustained this iconic newspaper over the last
                                                  few decades, and I’m so excited to bring our upcoming
                                                  podcast, Street Speak, to life in the coming year.

                                                  TJ Johnston
                                                  Street Sheet writer & editor since 2001
                                                  I would like Street Sheet to be redundant in 30 years
                                                  because we have solved the problem of homelessness.
                                                  If there is homelessness in 30 years I hope it’s the
                        image: Michelle Klug      kind where you move out of your place at the end of
                                                  the month, crash with your friend a couple nights,
                                                  then move into your new place for the next month.



                            Emmett House
              Vendor Coordinator since 2018
  In 30 years I hope that the Street Sheet is worldwide,
  not just citywide. One reason would be so the Street
  Sheet could be spread around to more people, and
  another is so we could get some more information
  on homeless peoples’ situations around the world.
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Looking forward to 2020
Keeping san franciscans in their homes and housing san franciscans
• In the coming year, we will continue to fight for an expansion of housing, eviction prevention, and
  subsidies that ensure homeless San Franciscans have access to deeply affordable housing, while those
  at risk of homelessness can stay in their homes.
• While Our City, Our Home battles lawsuits from corporate interests, we will be exploring alternative
  options to realize the measure and the funding as soon as possible. This includes releasing a report
  with recommendations based on the experience of homeless people on how the new system should
  be structured, seating the oversight body.
• We are in the process of forming a Vehicularly Housed Residents’ Association, “Our Wheels, Our
  Home”, where homeless leaders staying in their vehicles can lead the fight for safe parking and
  against criminalization. We plan to secure multiple safe parking sites in 2020 as well as a halt to the
  practice of towing vehicles that are homes to the marginally housed.
• We will be centering community voices in the creation of a chartered oversight commission for the
  Department of Homelessness and Supportive Housing, so that the department is held accountable in
  its spending and policy decisions.
                                                                expanding access to care
                                                                • We are working to dramatically expand
                                                                  access to mental health, and substance
                                                                  abuse treatment. We will push for these
                                                                  investments both legislatively and at the
                                                                  ballot, including securing revenue to
                                                                  fund new and expanded programs.
                                                                • We will be working to reform the
                                                                  Coordinated Entry system, making
                                                                  it equitable for all homeless San
                                                                  Franciscans seeking access to housing
                                         image: Leslie Dreyer
                                                                  and shelter.

Taking on the criminalization of
homelessness
• We will be fighting back against unprecedented
  criminalization of our community, whether
  unsheltered, vehicularly housed, or being pushed
  out of existing housing, and work towards
  having an alternative to a police response to
  homelessness.
• We will be strengthening the City’s policy
  on property confiscation and disposal, as we
  ensure the policy is properly followed by City
  departments. We will use legal, legislative and
  creative tactics to bring attention to and remedy
  the City’s violations.
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                   JOIN THE STRUGGLE
                                                                               Save the date
                                                                                  Don’t miss our twentieth annual Art Auction
                                                                                fundraiser, featuring artwork from hundreds of
                                                                                                  local artists!
                                                                                        Where: SOMArts Cultural Center
                                                                                     WHEN: Thursday September 10, 2020




                                                                               Local artist Alejandro created the beautiful cover
                                                                               art you see on this issue. The image reflects the
                                                                               hundreds of vendors who have given so many
                                                                               hours of their lives to distributing the stories
                                                                               within these pages, and the history of the paper
stay involved!                                                                 that has brought you the word on the street for 30
                                                                               years.
Buy and read the street sheet:
Our vendors keep 100% of the money they receive from your purchase.
Many of our vendors now accept Venmo as a digital alternative to cash.         Artwork by Alejandro (they/them)
Reach out to our editor, Quiver Watts, to submit writing, artwork, or to       web: alejandrodelacosta.net
volunteer skills such as graphic design or teaching a writing workshop.        ig: @alejandro_delacosta
Street Sheet is the best way for you to tune-in to the latest developments
in local policy, and our articles are primarily written by folks impacted by
homelessness.

Join the fight for human rights:
We have simple fact sheets on SF homelessness and best practices for
supporting your homeless neighbors on our website, cohsf.org. You can
email our Human Rights Organizers, Kelley Cutler and Armando Garcia.                280 Turk st.                         www.cohsf.org
Sign up for action alerts on our website, and plug into our social                san francisco, ca                      (415) 346-3740
media pages on Facebook, Twitter, and Instagram. Search “Coalition on
Homelessness” or “Street Sheet”.
                                                                                         coalition on homelessness, sf
fundraising:
Our support primarily comes from individual donors like you. There are
many ways to contribute to our fundraising, which are detailed on our
website at www.cohsf.org/ways-to-give. Jay Rice, our Development               our staff:
Director, is always happy to discuss upcoming fundraising opportunities        Miguel Carrera, Kelley Cutler, Nathaly Frias, Jennifer
as well as ways to collaborate on fundraising with the Coalition.              Friedenbach, Armando Garcia, Olivia Glowacki, Emmett
All staff contact information available at www.cohsf.org/who-we-are.           House, TJ Johnston, Jason Law, Sam Lew, Tracey Mixon, Jay
                                                                               Rice (they/them), Quiver Watts (they/them).
join the struggle:
Workgroups meet weekly at our office at 280 Turk Street, and are open to       our board of directors:
the public:                                                                    Julia D’Antonio, Barry Hills, Sara Hofverberg, Jesus Perez, Hadi
Housing Justice meets Tuesdays at 12:00pm                                      Razzaq, Colleen Rivecca, Jenise Standfield, Joe Wilson, Barry
Human Rights meets Wednesdays at 12:30pm                                       Zevin.
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Brandon Bilinski, Christopher Bingham, Stephen Bingham, Nicholas Bisignani, Danny Bittker, Maia Bittner, Tobias              Art Collective, Causa Justa::Just Cause, Chinatown Community
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Danielle Schneider, Gabriela Schneider, Kat Schoellenbach, Abigail Schott-Rosenfield, Stephanie Schug, Maria Schulman, Armida Schultz, Harley Schultz, Athena Scott, Ravinder Sehgal, Zara Seibel, Katie
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Siegenthater, Zeke Sikelianos, Marc Silva, Leslie Simon, Theodora Simon, Camille Simoneau, Amanda Simons, Shanti Singh, Lauren Sir, Yigal and Tami Sklarin, Arendse Skovmmler, Thomas Slankard, Christine
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Margaret Wood, Meggie Woods, Danielle Wright, Catherine Wu, Sarah Wulff, Sarah Wunning, Paloma and Maria X. Martinez, Jane Yam, Ross Yelland, Patrick Yeon, Tabitha Yong, Amanda Young, Elise
Youssoufian, Peter Zahody, Daniel Zamani, Linda Zaretsky, Cody Zeger, Octavia Zeigler, Raquel Zepeda, Richard Zevin, William Zickgraf, Zoosk Zoosk, Kara Zordel, Ben Zotto, Alanna Zrimsek.
